                                                SEALED
                  Case 1:22-cr-00316-JLT-SKO Document 1 Filed 09/29/22 Page 1 of 11
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                          FILED
                                                                for the                                                   Sep 29, 2022
                                                                                                                       CLERK, U.S. DISTRICT COURT
                                                   Eastern District
                                                 __________         of of
                                                             District  California
                                                                          __________                                 EASTERN DISTRICT OF CALIFORNIA




                  United States of America                          )
                             v.                                     )
                DEVIN MICHAEL CUELLAR                               )     Case No. 6:22-mj-00018-HBK
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of              May 27 to August 19, 2021         in the county of              Mariposa                       in the
      Eastern          District of           California        , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. § 922(g)(1), (g)(3);                 Knowingly possessing firearm/ammunition - penalties: 10 years/$250,000 fine;

26 U.S.C. § 5861(d);                           Knowingly possessing short-barreled shotgun - penalties: 10 years
                                               prison/$10,000 fine;
18 U.S.C. § 1363;                              Willfully destroying property - penalties: 5 years prison/$250,000 fine;
18 U.S.C. § 661;                               Carry away, with intent to steal or purloin, any personal property (in excess of
                                               $1,000) of another - penalties: 5 years prison/$250,000 fine;
18 U.S.C. § 1001(a)(2).                        False statement - penalties: 5 years prison/$250,000 fine


         This criminal complaint is based on these facts:
See Attached Affidavit, attached hereto and incorporated herein by reference.




         ✔ Continued on the attached sheet.
         u


                                                                                              Complainant’s signature
                                                                                              Complaina

                                                                            Heidi L. Edgecomb, Ranger, Yosemite National Park
                                                                                               Printed name and title

Sworn to before meDVWUXHDQGDFFXUDWHE\WHOHSKRQHFRQVLVWHQWZLWK)HG5&ULP3DQG G .


Date:     9/29/2022 at 3:09 pm
                                                                                                 Judge’s signature

City and state:                   Yosemite National Park                     HELENA BARCH-KUCHTA, U.S. Magistrate Juge
                                                                                               Printed name and title
           Case 1:22-cr-00316-JLT-SKO Document 1 Filed 09/29/22 Page 2 of 11

 1                              AFFIDAVIT IN SUPPORT OF COMPLAINT

 2         I, Heidi L. Edgecomb, being duly sworn, hereby declare as follows:
 3
                                           I.      INTRODUCTION
 4
           A.      Purpose of the Affidavit
 5

 6         1.      This Affidavit is made to support a complaint charging Devin Michael CUELLAR

 7   (“CUELLAR”), with, knowing that he had been convicted of a crime punishable by imprisonment for a
 8   term exceeding one year and knowing of his status as a drug addict and user, knowingly possessing a
 9
     firearm and ammunition, in violation of 18 U.S.C. § 922(g)(1) and (g)(3); knowingly possessing a short-
10
     barreled shotgun, in violation of 26 U.S.C. § 5861(d); willfully and maliciously destroying property of
11
     another, a dwelling, in violation of 18 U.S.C. § 1363; carry away, with intent to steal or purloin, any
12

13   personal property (in excess of $1,000) of another, in violation of 18 U.S.C. § 661; and knowingly and

14   willfully making a false statement, in violation of 18 U.S.C. § 1001(a)(2).

15         B.      Agent Background

16         2.      I am a Supervisory United States Park Ranger with the National Park Service, United
17   States Department of the Interior (DOI), currently assigned to the Wawona Ranger District in Yosemite
18
     National Park and have worked as a field ranger there for approximately fourteen years.
19
           3.      I am a designated officer or employee of the United States within the meaning of Title 54,
20
     United States Code, Section 102701(a)(1), that is, an employee of the Department of the Interior who is
21

22   empowered by law to make arrests, execute warrants and other process, and conduct investigations to

23   maintain law and order and protect persons and property within areas of the National Park System.

24         4.      I have a Bachelor of Science degree in recreation management from Ferris State
25
     University. I am a graduate of the Seasonal Law Enforcement Training Program (SLETP) at Northern
26
     Arizona University in Flagstaff, Arizona; Land Management Investigator Training Program at the
27
     Federal Law Enforcement Training Center (FLETC) in Glynco, Georgia; and the Land Management
28


     AFFIDAVIT                                           1
           Case 1:22-cr-00316-JLT-SKO Document 1 Filed 09/29/22 Page 3 of 11

 1   Police Training Program at the FLETC. While attending SLETP and FLETC, I received training in
 2   conducting burglary, vandalism, financial, narcotics, and fraud-based investigations as well as asset
 3
     forfeiture, undercover operations, and physical and electronic surveillance operations. During my tenure
 4
     with the NPS, I have investigated a variety of crimes on NPS lands, including burglaries, vandalism,
 5
     fraud, weapons, and drug-related violations. I have assisted and/or planned in the execution of warrants
 6

 7   to search particular places, premises and persons that included electronic devices and data. I have

 8   written reports and analyzed records and documents in conjunction with the preparation of affidavits

 9   requesting authorization for the execution of search and arrest warrants and I have authored, planned,
10
     and executed said warrants.
11
           5.      My investigative experience includes conducting physical surveillance; interviewing
12
     witnesses, victims, and suspects; writing affidavits for, and executing search and arrest warrants;
13
     analyzing phone records obtained from subpoenas and search warrants; and collecting and processing
14

15   evidence. Through my training and experience as a law enforcement officer I have become familiar with

16   illegal drug and weapon violations.
17         6.      I have personally participated in the investigation set forth below. I am familiar with the facts
18
     and circumstances of the investigation through my personal participation; from discussions with other law
19
     enforcement officers; from my review of records and from debriefings of other witnesses. Unless otherwise
20
     noted, wherever in this affidavit I assert that a statement was made, the information was provided by another
21
     law enforcement officer or witness who may have had either direct or hearsay knowledge of that statement
22
     and to whom I or others have spoken or whose reports I have read and reviewed. Such statements are among
23

24   many statements made by others and are stated in substance and in part unless otherwise indicated.

25

26

27

28


     AFFIDAVIT                                            2
           Case 1:22-cr-00316-JLT-SKO Document 1 Filed 09/29/22 Page 4 of 11

 1                                        II.      PROBABLE CAUSE

 2         7.        On August, 30, 2021, 1 K.S. arrived at her privately-owned vacation home in the town of
 3   Wawona, County of Mariposa, within the Eastern District of California, to find her home unsecured.
 4
     She found many pieces of furniture, clothing, tools, drug paraphernalia, and other personal effects
 5
     strewn throughout the kitchen, living room, hallways, bedrooms, bathrooms, and yard of the home. The
 6
     kitchen of the property contained food, used dishes, and garbage. K.S. had last visited her property in
 7

 8   late April or early May and had left the property emptied of personal effects, clean, and locked.

 9         8.        K.S.’s residence is located on a privately-owned parcel in township Section 35 of

10   Mariposa County, within the special maritime and territorial jurisdiction of the United States, namely
11
     Yosemite National Park. From May 21 to September 30, 2021, all visitors to Yosemite National Park
12
     were required to have either a day-use reservation or a permit signed by a resident or property owner
13
     authorizing access to their property.
14
           9.        On August 30, 2021, Ranger Zane Kesceker and I arrived at the property and were met by
15

16   K.S. and her partner, S.M. Upon arriving at the property, I saw two sport utility vehicles parked on the

17   eastern side of the house with the hoods up and vehicle parts on the ground nearby. I also saw numerous
18   beverage containers, food packaging, and other garbage strewn about the yard and the forested areas
19
     surrounding the home. I saw electric lights which were partially discarded alongside the driveway. I
20
     saw three outbuildings, two of which appeared to have been opened and some items had been
21
     removed. There was also a camper trailer parked in the yard, which appeared to have been opened. On
22

23   the attached deck of the home, I saw several gasoline cans, some tools, and additional electrical items

24   which appeared to have been dropped in the yard without purpose.

25         10.       K.S. said that, when she last left the property, the vehicle hoods had been closed, all
26   outbuildings had been closed, and no items were left unsecured. She said she had photographed the
27
           1
28             Any and all references herein to dates and times are to approximate dates and times.


     AFFIDAVIT                                             3
           Case 1:22-cr-00316-JLT-SKO Document 1 Filed 09/29/22 Page 5 of 11

 1   cabin prior to leaving and these photographs verified the stated condition of the property at her last
 2   visit. K.S. indicated that K.S., S.M, and K.S.’s two daughters, A. and K., were the only authorized users
 3
     of the property and that none of them had been there since K.S. had left in April or May. When she left
 4
     all doors had been locked.
 5
           11.     K.S. and S.M. had begun cleaning the house prior to calling law enforcement. They had
 6

 7   removed three or four laptop computers, some tools and tool batteries and a few other items from inside

 8   the home and placed on the deck outside. They showed me these items. S.M. also stated there were

 9   items he could identify as from Wawona Hotel, such as toilet paper. S.M. said there was a motorcycle
10
     helmet inside the home. Before I left the property, these items were returned to the locations inside the
11
     residence where K.S. and S.M. had found them.
12
           12.     Upon entering the house, I saw garbage on the floor throughout the house. In the living
13
     room, an air mattress and bedding was set up. A couch was present in the living room, as well as
14

15   clothing, shoes, and other articles of men’s and women’s clothing and accessories. Several commercial-

16   type lights, such as those used for growing plants or lighting construction sites, had been left in the
17   bedrooms and other personal items, including a purse, backpack, clothing, and motorcycle helmet were
18
     also present. The kitchen of the home had piles of used dishes, unfinished food, beverage containers,
19
     and utensils stacked on the counter and in the sink. The entire house was cluttered and soiled. The
20
     bathtub had been left partially filled with water and the toilet contained large clumps of hair. An ashtray
21

22   containing numerous cigarette butts and ashes was left on a table in a small bedroom adjacent to the

23   bathroom, and partially burned candles were also there.

24         13.     On September 7, 2021, Yosemite National Park Rangers executed a search warrant on the
25   property. During execution of the warrant, I discovered an envelope containing mail from the County of
26
     Madera Health and Human Services/Department of Social Services and Covered California addressed to
27
     Devin CUELLAR. Contained in the same envelope was an employee handbook from The Pines Resort
28


     AFFIDAVIT                                            4
           Case 1:22-cr-00316-JLT-SKO Document 1 Filed 09/29/22 Page 6 of 11

 1   in Bass Lake. I also discovered a bottle of Lucerne coffee creamer, a tub of “I Can’t Believe It’s Not
 2   Butter” and two packages of tortillas in the refrigerator labeled “Devin.” Each of these items were
 3
     fresh, not moldy or spoiled. I also discovered a notebook labeled with a name which K.S. believed was
 4
     a juvenile named S.R., an acquaintance of K.S. from several years ago.
 5
           14.     Rangers also discovered items known to be stolen, including a set of golf clubs, cleaning
 6

 7   supplies, tools, and a gasoline can. These items had been the subject of previous law enforcement

 8   reports taken for stolen property around the beginning of June 2021.

 9         15.     On July 3, 2021, a custom SFGC gray club bag containing 14 golf clubs, including a
10
     Taylor putter, 3 irons, drivers and woods that had been reported stolen from in or near room 106 at the
11
     Wawona Hotel. The golf bag and several of the clubs were recovered during the search of the property.
12
     The replacement cost of these items is estimated at $1,420.00.
13
           16.     In early July 2021, a local resident, M.H., approached me and stated a gasoline can had
14

15   been taken from the front porch of his store in Wawona. He identified the gas can as a faded red 2.5

16   gallon rectangular container with a yellow spout and a yellow vent cap. This item was located along the
17   northern exterior wall of K.S.’s property when the search warrant was executed and M.H. identified the
18
     gas can as his. The replacement cost of this item is estimated at $25.00
19
           17.     In September 2021, Wawona Hotel employees confirmed a porter’s closet had been
20
     emptied in late June or early July of toilet tissue, paper towels, Windex, bathroom floor cleaner,
21

22   disinfectant cleaner, and Lemon Lift product. The Wawona Hotel Housekeeping Manager confirmed the

23   products were consistent with the brand, package sizes, and products stored in the emptied porter’s

24   closet. During the execution of the search warrant at K.S.’s residence, officers found several lists and
25   notes, including one dated June 27, 2021 entitled Household Items. Included on this list was “comet,
26
     liquid toilet cleaner, floor cleaner, air freshener.” This note was in handwriting similar to that found in
27

28


     AFFIDAVIT                                           5
           Case 1:22-cr-00316-JLT-SKO Document 1 Filed 09/29/22 Page 7 of 11

 1   the notebook belonging to S.R. Several of these items were recovered during the search of the property.
 2   The replacement value of these items is estimated at $80.00.
 3
            18.     During an interview with employees of an electrical contractor working at the Wawona Hotel in
 4
     2021, several items were identified as missing from the project site. These items included, among others, DeWalt
 5
     drills and batteries and a Greenlee green-handled ratchet cutter. Items matching these were recovered during the
 6
     search of K.S.’s residence. The estimated replacement cost of these items is $850.00.
 7
            19.     On September 28, 2021, during a general patrol, I discovered K.S.’s property unsecured
 8
     with a sliding glass door open. I entered the property and found it unoccupied. Written in five locations
 9

10   on the walls of the entry hallway, kitchen, and refrigerator in purple ink were derogatory epithets. K.S.

11   ultimately needed to repaint the interior of these rooms to cover over the vandalism.
12          20.     In addition, Rangers found the following items within the residence: (1) seven plastic
13
     baggies containing white powder residue; (2) a glass pipe consistent with those used to smoke
14
     methamphetamine or heroin;(3) five foil squares with burned residue often used for smoking drugs; and
15
     (4) three unspent 12-gauge buckshot ammunition rounds.
16

17          21.     On October 13, 2021, K.S. called me advising she had found a gun, which did not belong

18   to her, in the living room closet of the Wawona property. Ranger Kyle Strand and I met K.S. at the

19   property and seized the firearm, a modified J.C. Higgins model 20, 12-gauge shotgun with no
20   identifiable serial number. The shotgun had been modified to shorten the barrel and the stock to an
21
     overall length of less than twenty-six inches. The shotgun was loaded with three bullets in the
22
     magazine tube. This shotgun had several distinct identifying characteristics: (1) the safety had been
23
     removed; and (2) the right-hand side (when holding the firearm with the barrel pointed away from one’s
24

25   body) had several distinct round areas of damage resembling bullseyes where the bluing had been worn

26   away, leaving a circle of silver metal on the barrel and magazine tube. The Resident Agent in Charge of

27   the Fresno Office of the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) advised that the
28


     AFFIDAVIT                                              6
           Case 1:22-cr-00316-JLT-SKO Document 1 Filed 09/29/22 Page 8 of 11

 1   aforementioned firearm and ammunition had been manufactured outside of the State of California. In
 2   addition the firearm is not registered to CUELLAR. Because K.S. had identified the closet as
 3
     containing items belonging to her, the closet in question had not been searched during execution of the
 4
     search warrant on September 7, 2021.
 5
            22.     An examination of utility records for the property showed an increase in electricity usage
 6

 7   for the property from May 20 to June 18, 2021. The home, being empty, had shown a fairly steady

 8   pattern of electricity usage in April and May, and an increase after May 27, 2021, which continued

 9   through the bill dated August 19, 2021. Madera County Jail records show CUELLAR was released
10
     from state custody for a parole violation, possession of a controlled substance, possession of
11
     paraphernalia, and a California Vehicle Code violation on May 25, 2021 and re-arrested on August 20,
12
     2021 for a parole violation, prohibited possession of ammunition, and possession of paraphernalia.
13
            23.     On December 9, 2021, Ranger Justen Williams and I conducted an interview of CUELLAR.
14
     CUELLAR said he “[hadn’t] been in Wawona in years.” The last time he could recall being in Wawona he was
15

16   living with K. (K.S.’s daughter) in 2017. CUELLAR had “no idea” how his mail had gotten into the house,

17   stating his personal belongings had been stolen in Bass Lake. CUELLAR said that, starting in late May through

18   July or August, he had worked for about a month and a half at Ducey’s, which is a bar at The Pines Resort in Bass

19   Lake. CUELLAR later stated, “From my knowledge, what I remember . . . I wasn’t in the right state of mind

20   sometimes this past year, drinking and stuff like that. From the best of my knowledge, from what I remember it’s

21   been a while.” When asked if it was possible he ended up in Wawona without realizing it, he said he “[hadn’t]

22   had any intention of going up there in a long time” and could not “recall being up there.” When I asked when
23   CUELLAR had been in Wawona with S.R., he stated, “I haven’t been. Never.” He also indicated that he had not
24   been in Wawona at all last summer. He further indicated that he had not been to the cabin “in a while” and stated,
25
     “I haven’t been at the cabin ever with S.R.”
26
            24.     On February 7, 2022, Ranger Justen Williams and I conducted an interview with the juvenile
27
     accomplice of CUELLAR, S.R.. S.R. stated she knew the daughter of K.S. and admitted that she and
28


      AFFIDAVIT                                             7
            Case 1:22-cr-00316-JLT-SKO Document 1 Filed 09/29/22 Page 9 of 11

 1   CUELLAR had stayed at K.S.’s property in Wawona between May 2021 and August 2021. S.R. stated that

 2   she had used drugs while at the property and that CUELLAR had been “tweaking” while there. S.R.
 3
     stated CUELLAR was smoking both methamphetamine and heroin while at the property. S.R. stated
 4
     she and CUELLAR went to Wawona Hotel to use the wireless internet on more than one occasion
 5
     while staying at the cabin. S.R. also stated she had made a grocery list while at the cabin. S.R. further
 6

 7   acknowledged that she maintained a notebook while staying at the cabin.

 8          25.     On November 23, 2021, CUELLAR was arrested by a California State Parole agent for violation

 9   of his parole release conditions. During a search incident to his arrest, the agent found one TracFone cellular

10   phone in CUELLAR’s right front pants pocket. The agent took possession of the phone.

11          26.     Pursuant to the execution of a federal warrant authorizing a search of the contents of the phone, I
12   found that most of CUELLAR’s communication occurred via third-party apps. This was further confirmed
13   during interviews with CUELLAR and S.R..
14
            27.     On April 8, 2022, Meta Platforms, Inc produced 605 pages of data from CUELLAR’s Facebook
15
     account, facebook.com/dmc420, with vanity name “Raider Rx,” pursuant to a search warrant issued on March
16
     16, 2022. In conducting the search of this data, I found in plain view two photographs containing firearms. One
17
     of the firearms depicted is a short-barreled shotgun with several bullseye-type markings on the barrel and
18
     magazine tube consistent with those on the firearm seized on October 13, 2021 from K.S.’s residence, as
19
     described herein.
20
            28.     On February 15, 2022, a fingerprint analyst of the California Department of Justice Bureau of
21
     Forensic Services found that one latent print impression which had been located on a window used to enter K.S.’s
22
     property matched a known print of CUELLAR’s left palm.
23
            29.     During the course of my investigation, I became aware that CUELLAR is a known member of the
24

25   Norteño gang and is a habitual user and purchaser of controlled substances, including methamphetamine, heroin,

26   and marijuana. CUELLAR told me he is a habitual user of “all of it” but mainly methamphetamine.

27   CUELLAR’s parole agent confirmed his status as a gang member.

28


      AFFIDAVIT                                              8
           Case 1:22-cr-00316-JLT-SKO Document 1 Filed 09/29/22 Page 10 of 11

 1          30.      On August 30, 2022, State of California Department of Justice Bureau of Forensic Service
 2   Forensic produced a report confirming that DNA evidence provided “very strong support” that
 3
     CUELLAR was one of the contributors to DNA evidence present on the shotgun. The DNA mixture
 4
     obtained from the shotgun was “250 quintillion times more likely” to be observed if S.M., CUELLAR
 5
     and one unknown subject were contributors to the sample, indicating very strong support CUELLAR
 6

 7   had possessed the weapon.

 8          31.      A review of all available criminal indices, to include the National Crime Information Center

 9   (“NCIC”) and the National Law Enforcement Telecommunications System (“NLETS”), indicates that

10   CUELLAR is a convicted felon and is therefore prohibited from possessing firearms and ammunition.

11          32.      Specifically, on February 28, 2018, CUELLAR was convicted in Case No. MCR056829A in the
12   Superior Court of California, County of Madera, for the offense of carjacking, in violation of Section 215(a) of
13   the California Penal Code. For this offense, CUELLAR was sentenced to 246 days in jail and 3 years’ probation.
14          33.      In addition, on November 5, 2019, CUELLAR was convicted in Case No. F18903317 in the
15
     Superior Court of California, County of Fresno, for the offense of possession of a controlled substance for sale. in
16
     violation of Section 11360(a)(2) of California Health and Safety Code. For this offense, CUELLAR was
17
     sentenced to 2 years and 8 months in custody.
18
                                                    IV.    REQUEST TO SEAL
19
            34.      Because this investigation is ongoing, disclosure of this affidavit could jeopardize the progress of
20
     the investigation, cause CUELLAR to flee, and jeopardize the safety of witnesses and/or law enforcement
21
     personnel. Accordingly, I request that the Court issue an order that this complaint be filled under seal until further
22
     order of the Court. I also request that notwithstanding the Court's sealing order, the U.S. Attorney's Office be
23
     permitted to obtain and keep copies of the sealed documents from the Clerk of the Court and share them with law
24

25   enforcement agencies within or outside the United States as necessary to apprehend the defendants and/or to

26   further the investigation.

27

28


      AFFIDAVIT                                               9
            Case 1:22-cr-00316-JLT-SKO Document 1 Filed 09/29/22 Page 11 of 11

 1                                            III.      CONCLUSION

 2           35.    Based on the foregoing, I submit that there is probable cause to believe that Devin Michael
 3    CUELLAR, knowing that he had been convicted of a crime punishable by imprisonment for a term exceeding
 4
      one year and knowing of his status as a drug addict and user, knowingly possessing a firearm and
 5
      ammunition, in violation of 18 U.S.C. § 922(g)(1) and (g)(3); possessing a short-barreled shotgun, in
 6
      violation of 26 U.S.C. § 5861(d); willfully and maliciously destroying property of another, a dwelling, in
 7
      violation of 18 U.S.C. § 1363; carry away, with intent to steal or purloin, any personal property (in
 8

 9    excess of $1,000) of another, in violation of 18 U.S.C. § 661; and knowingly and willfully making a

10 false statement, in violation of 18 U.S.C. § 1001(a)(2), and request the issuance of an arrest warrant for these

11 crimes.

12
                                                                    _________________
                                                                    _______________________________
13                                                                  HEIDI L. EDGECOMB
                                                                             EDGECOM
                                                                    Law Enforcement Park
                                                                                     Pa Ranger
14                                                                  Yosemite National Park
15

16 Affidavit submitted to me by reliable electronic means and attested to me as true and accurate by
   telephone consistent with Fed. R. Crim. P. 4.1 and 4(d) this 29th day of September 2022.
17

18
     HELENA BARCH-KUCHTA
19 UNITED STATES MAGISTRATE JUDGE

20

21 Approved as to form

22   /s/ Karen A. Escobar
     KAREN A. ESCOBAR
23   Assistant U.S. Attorney
24

25

26

27

28


       AFFIDAVIT                                           10
